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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA
Vv.
MICHAEL JOSEPH FOY,

Defendant.

CRIMINAL NO.
MAGISTRATE NO. 21-MJ-136

VIOLATIONS:

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)
18 U.S.C. §§ 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

INDICTMENT

The Grand Jury charges that:

COUNT ONE

On or about January 6, 2021, within the District of Columbia, MICHAEL JOSEPH FOY,

committed and attempted to commit an act to obstruct, impede, and interfere with a law
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enforcement officer, that is, an officer from the United States Capitol/Metropolitan Police
Department, lawfully engaged in the lawful performance of his/her official duties incident to and
during the commission of a civil disorder, and the civil disorder obstructed, delayed, and adversely
affected the conduct and performance of a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 23 1(a)(3))

COUNT TWO

On or about January 6, 2021, within the District of Columbia and elsewhere, MICHAEL
JOSEPH FOY, attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, by entering and remaining in the United States
Capitol without authority and committing an act of civil disorder.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE

On or about January 6, 2021, within the District of Columbia, MICHAEL JOSEPH FOY,
using a deadly or dangerous weapon, that is, a hockey stick, did forcibly assault, resist, oppose,
impede, intimidate, and interfere with, an officer and employee of the United States, and of any
branch of the United States Government (including any member of the uniformed services), and
any person assisting such an officer and employee, an officer from the United States
Capitol/Metropolitan Police Department, while such officer or employee was engaged in or on
account of the performance of official duties.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 11 1(a)(1) and (b))
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COUNT FOUR
On or about January 6, 2021, within the District of Columbia, MICHAEL JOSEPH FOY,
did unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President and Vice President-elect were temporarily visiting, without
lawful authority to do so, and, during and in relation to the offense, did use and carry a deadly and
dangerous weapon, that is, a hockey stick.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and

(b)(I)(A))
COUNT FIVE
On or about January 6, 2021, within the District of Columbia, MICHAEL JOSEPH FOY,
did unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President and Vice President-elect were temporarily visiting, without
lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT SIX
On or about January 6, 2021, within the District of Columbia, MICHAEL JOSEPH FOY,
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted

area within the United States Capitol and its grounds, where the Vice President and Vice President-
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elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the
orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT SEVEN
On or about January 6, 2021, within the District of Columbia, MICHAEL JOSEPH FOY,
did knowingly, engage in any act of physical violence against any person and property in a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))

COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, MICHAEL JOSEPH FOY,
willfully and knowingly engaged in an act of physical violence within the United States Capitol
Grounds and any of the Capito! Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON.

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Attorney of the United Atates in
and for the District of Columbia.
